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                                      cert of service Page 1 of 1



                                   UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF PENNSYLVANIA
                                        PHILADELPHIA DIVISION

In Re:
                                                                           13
         Pedro Melendez
                                                                           Bky No. 19-10583-MDC
                             Debtor(s).



                                     CERTIFICATE OF SERVICE


        I, Erik B. Jensen, Attorney for Debtor, hereby certify that service upon all interested parties, indicated
below, was made by sending true and correct copies of the Application of Debtor's Counsel for Compensation and
Reimbursement electronically and/or first class mail and/or facsimile on April 11, 2019.

Pedro Melendez
2061 E. Auburn Street
Philadelphia, PA 19134


William C. Miller, Esquire
Chapter 13 Trustee
Post Office Box 40119
Philadelphia, PA 19106

United States Trustee
Office of the U.S. Trustee
833 Chestnut Street
Suite 500
Philadelphia, PA 19107



Dated:    April 11, 2019                                       /s/Erik B. Jensen
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